Case 1:22-cv-00080-SOM-KJM Document 1-3 Filed 02/28/22 Page 1 of 11   PageID #: 37
Case 1:22-cv-00080-SOM-KJM Document 1-3 Filed 02/28/22 Page 2 of 11                                           PageID #: 38




  September 27, 2021

  Via email


  Matt Beall
  Chief Executive Officer (CEO)
  Hawaii Life Real Estate Services LLC
  500 Bay Dr, Lahaina, Hawaii, 96761, United States
  matt@hawaiilife.com

  Re: Notice of Infringement to Hawaii Life Real Estate Services, LLC. re Locket IP LLC


  Dear Mr. Beall:

  This letter is to provide notice on behalf of Locket IP LLC (“Locket”) to Hawaii Life Real Estate Services, LLC. and its
  affiliates (collectively “Hawaii Life”) of Hawaii Life‘s infringement of Locket’s U.S. Patent No. 10,514,832 (“Locket
  Patent”). Enclosed with this letter is a copy of the Locket Patent.

  After an investigation and comparison of the Locket Patent and the following product and service, including,
  without limitation, the Hawaii Life Website hawaiilife.com (“Hawaii Life Product”), Locket believes that Hawaii Life
  is infringing the Locket Patents by making, using, selling and/or offering for sale, as well as instructing Hawaii Life
  customers to use Hawaii Life Product. Enclosed with this letter is a claim chart comparing representative claims of
  Locket’s Patent No. 10,514,832 to the Hawaii Life Product.

  IP EDGE LLC (“IP EDGE”) is the licensing advisor for Locket and is authorized to discuss licensing of the patent
  described herein. Through its licensing advisor, Locket would like to discuss with Hawaii Life a mutually beneficial
  agreement that will provide Locket with value for Hawaii Life‘s use of its intellectual property.

  We respectfully request an initial response of this letter within two weeks from the date of this letter.

  To discuss further, please email annetteg@ip-edge.com, and please cc gbodepudi@ip-edge.com and admin@ip-
  edge.com.

  Please let me know if you have any questions.


  Best,




  Gautham Bodepudi
  IP EDGE LLC
  Managing Partner
  email: gbodepudi@ip-edge.com
  copy: annetteg@ip-edge.com
  copy: admin@ip-edge.com


                                   Gautham Bodepudi | gbodepudi@ip-edge.com
                   Case 1:22-cv-00080-SOM-KJM Document 1-3 Filed 02/28/22 Page 3 of 11                            PageID #: 39




Charted Claims:
Method Claims: 1

          US10514832B2                                                  Hawai’i Life (“The accused instrumentality”)
 1. A method comprising:               The accused instrumentality practices a method which comprises determining, in response to a user
 determining, in response to a user    command (a user command to search desired real estate property), regions of interest (address, price,
 command, regions of interest within   property features, etc.) within each of a plurality of cards (e.g., cards showing houses for sale, rent, etc.) by
 each of a plurality of cards by       searching information indicating previous user preferences (e.g., Saved homes, etc.)
 searching information indicating
 previous user preferences; and




                                       https://www.hawaiilife.com/
Case 1:22-cv-00080-SOM-KJM Document 1-3 Filed 02/28/22 Page 4 of 11        PageID #: 40




              https://www.hawaiilife.com/listings/kauai?displayType=grid
Case 1:22-cv-00080-SOM-KJM Document 1-3 Filed 02/28/22 Page 5 of 11                  PageID #: 41




              https://www.hawaiilife.com/listings/kauai/east-side?displayType=grid
Case 1:22-cv-00080-SOM-KJM Document 1-3 Filed 02/28/22 Page 6 of 11                  PageID #: 42




              https://www.hawaiilife.com/listings/kauai/east-side?displayType=grid
Case 1:22-cv-00080-SOM-KJM Document 1-3 Filed 02/28/22 Page 7 of 11   PageID #: 43




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Case 1:22-cv-00080-SOM-KJM Document 1-3 Filed 02/28/22 Page 8 of 11   PageID #: 44




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                    Case 1:22-cv-00080-SOM-KJM Document 1-3 Filed 02/28/22 Page 9 of 11                             PageID #: 45




updating for display the plurality of    The accused instrumentality practices updating for display the plurality of cards (e.g., cards showing houses
cards to visibly show in a display       for sale, rent, etc.) to visibly show in a display area of a display device (e.g., a user computer device such as
area of a display device the at least    laptop, PC, etc.) the at least one region of interest (e.g. address, price, property features, etc.) of multiple
one region of interest of multiple       cards (e.g., all cards included in the search results) included in a first group of the plurality of cards (e.g.,
cards included in a first group of the   cards with addresses within east side Kausai) wherein said updating includes repositioning the plurality of
plurality of cards, wherein said         cards to remove cards not included in the first group (e.g., cards with addresses outside east side Kausai are
updating includes repositioning the      removed) from the display area and to visibly display the at least one region of interest (e.g., cards with
plurality of cards to remove cards       addresses within east side Kausai) within all of the multiple cards included in the first group (e.g., cards with
not included in the first group from     addresses within east side Kausai) within the display area of the display device.
the display area and to visibly
display the at least one region of       As shown below, on determining region of interest and based on user command, the cards showing addresses
interest within all of the multiple      with region of interest are displayed.
cards included in the first group
within the display area of the
display device.




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Case 1:22-cv-00080-SOM-KJM Document 1-3 Filed 02/28/22 Page 10 of 11      PageID #:
                                     46




             https://www.hawaiilife.com/listings/kauai?displayType=grid
Case 1:22-cv-00080-SOM-KJM Document 1-3 Filed 02/28/22 Page 11 of 11                PageID #:
                                     47




             https://www.hawaiilife.com/listings/kauai/east-side?displayType=grid
